              CASE 0:20-cr-00259-JRT-LIB Doc. 27 Filed 03/05/21 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                              Criminal No. 20-259 (JRT/LIB)

 United States of America,

                        Plaintiff,
                                                             ORDER OF DETENTION
         v.

 Edward Duane Fairbanks,

                        Defendant.


       This matter came before the Court for a detention hearing on December 7, 2020, upon the

Government’s motion for detention. Pursuant to consent obtained from Defendant, Edward Duane

Fairbanks, the hearing was held via a video conference platform. Defendant made his virtual

appearance by videoconference, and Defendant was represented by Paul C. Engh, who also

appeared through videoconference. The Government was represented by Assistant U.S. Attorney

Deidre Y. Aanstad, who also appeared by videoconference.

       Defendant is charged with one count of assault resulting in serious bodily injury in

violation of 18 U.S.C. § 113(a)(6), 1151, 1153(a), and 3559(f)(3). At the time of the detention

hearing, there were three active state court warrants for Defendant’s arrest.

       Because the United States had moved for detention pending trial, Defendant is entitled to

a detention hearing. However, Defendant did not oppose the Government’s motion for detention.

Instead, after being advised of his constitutional rights and consulting with counsel at the

December 7, 2020, detention hearing, Defendant waived his right to a detention hearing. At the

detention hearing, the Court found that Defendant had freely, knowingly, and voluntarily waived

his right to a detention hearing.

       Given Defendant’s waiver of his detention hearing and the existence of the active state

court warrant authorizing Defendant’s arrest, the Court finds that there are no conditions which
            CASE 0:20-cr-00259-JRT-LIB Doc. 27 Filed 03/05/21 Page 2 of 2



this Court could impose which would reasonably ensure Defendant’s appearance at future Court

proceedings. After consideration of the record before the Court, including the factors listed in 18

U.S.C. § 3142(g) and Defendant’s wavier of his right to a detention hearing, the Court concludes

by a preponderance of the evidence that no condition or combination of conditions of release will

reasonably assure the appearance of the Defendant as required at future Court proceedings.

Accordingly, the Court grants the United States’ motion for detention. However, as the Court noted

at the detention hearing, should Defendant’s circumstances change, he may move to reopen the

subject of his detention. See, 18 U.S.C. § 3145.

       For the reasons set forth above, and based on all of the files, records, and proceedings

herein, IT IS HEREBY ORDERED THAT:

       1.      The motion of the United States for detention of Defendant is GRANTED;

       2.      Defendant is committed to the custody of the United States Marshals Service for

confinement in a correctional facility separate, to the extent practicable, from persons awaiting or

serving sentences or being held in custody pending appeal;

       3.      Defendant shall be afforded reasonable opportunity to consult privately with his

lawyer; and

       4.      Upon Order of the Court or request by the United States Attorney, the person in

charge of the correctional facility in which the Defendant is confined shall deliver him to the

United States Marshal for the purpose of appearance in connection with all Court proceedings.




Dated: March 5, 2021                                   s/Leo I. Brisbois
                                                       Hon. Leo I. Brisbois
                                                       United States Magistrate Judge



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